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                                   U.S. Department of Justice

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Address:
222 West Washington Avenue, Suite 700
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                                              January 12, 2016


Jessica Harris
U.S. Probation Officer
United States Probation and Parole
222 West Washington Avenue, Suite 340
Madison, WI 53703

         Re:        United States v. Amadou Camara
                    Case No. 15-cr-54-wmc

Dear Ms. Harris:

      Please be advised that I have reviewed the presentence report prepared in the
above-captioned case. The government has no formal objections to file to the
presentence report.
                                               Very truly yours,

                                                          JOHN W. VAUDREUIL
                                                          United States Attorney

                                                          By: /s/
                                                          ROBERT A. ANDERSON
                                                          Assistant U.S. Attorney

cc:      U.S. District Judge William M. Conley
         Attorney Gregory Dutch
